 19-01360-scc     Doc 3     Filed 10/11/19 Entered 10/11/19 10:19:33        Main Document
                                          Pg 1 of 6



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                             Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L.                  Case No. 18-11094 (SCC)
DE C.V., et al.                                    (Jointly Administered)

Debtors in a Foreign Proceeding.


FERNANDO PEREZ-CORREA IN HIS                       Adv. Pro. No. 19-01360
CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V.; JOSE
ANTONIO CAÑEDO-WHITE; CARLOS
WILLIAMSON-NASI; GONZALO GIL-
WHITE; AND MIGUEL ANGEL
VILLEGAS-VARGAS

                      Plaintiffs,

               -against-

ASIA RESEARCH AND CAPITAL
MANAGEMENT LTD.; GHL
INVESTMENTS (EUROPE) LTD.; ORO
NEGRO PRIMUS PTE., LTD.; ORO
NEGRO LAURUS PTE., LTD.; ORO
NEGRO FORTIUS PTE., LTD.; ORO
NEGRO DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                      Defendants.



                  STIPULATED SERVICE AND SCHEDULING ORDER

         WHEREAS the Plaintiffs, Fernando Perez-Correa, in his capacity as Foreign

Representative of both Integradora de Servicios Petroleros Oro Negro, S.A.P.I. de C.V. and

Perforadora Oro Negro, S. de R.L. de C.V., Jose Antonio Cañedo-White, Carlos Williamson-Nasi,
19-01360-scc        Doc 3    Filed 10/11/19 Entered 10/11/19 10:19:33            Main Document
                                           Pg 2 of 6



Gonzalo Gil-White and Miguel Angel Villegas-Vargas (together, the “Plaintiffs”), filed the above-

captioned lawsuit on September 26, 2019; and

       WHEREAS, on September 30, 2019 and October 1, 2019, the Defendants in this matter

agreed to accept service of the Complaint [ECF 1] subject to the reservation of rights contained

herein; and

       WHEREAS, on October 1, 2019 the Defendants and the Plaintiffs agreed to a schedule for

the filing of responsive pleadings in this matter.

       Based on the foregoing, it is hereby STIPULATED, AGREED AND ORDERED AS

FOLLOWS:

       1.      The Defendants have been served with the Complaint and Summons as of October

1, 2019. The Defendants preserve all defenses or objections to the lawsuit, the Court’s jurisdiction,

and the venue of the action, and waive only objections to service.

       2.      The Defendants shall answer or otherwise move to dismiss the Complaint by

October 31, 2019.

       3.      The Plaintiffs shall file responses to any motions to dismiss the Complaint by

December 2, 2019.

       4.      The Defendants shall file any replies in support of any motions to dismiss the

Complaint by December 17, 2019.

       5.      The Defendants do not consent or submit to this Court’s jurisdiction over them and

such Defendants’ rights and defenses are explicitly reserved.

                                      [signature pages follow]




                                                     2
19-01360-scc   Doc 3   Filed 10/11/19 Entered 10/11/19 10:19:33        Main Document
                                     Pg 3 of 6




Dated: October 11, 2019                 QUINN EMANUEL URQUHART &
       New York, New York               SULLIVAN, LLP

                                          /s/ Gabriel F. Soledad             .
                                        Gabriel F. Soledad
                                        Juan P. Morillo (pro hac vice)
                                        Daniel Pulecio-Boek
                                        1300 I Street, NW, Suite 900
                                        Washington, D.C. 20005
                                        Telephone: (202) 538-8000
                                        Facsimile: (202) 538-8100
                                        Email: gabrielsoledad@quinnemanuel.com
                                        Email: juanmorillo@quinnemanuel.com
                                        Email: danielpulecioboek@quinnemanuel.com

                                        Scott C. Shelley
                                        51 Madison Avenue, 22nd Floor
                                        New York, NY 10010
                                        Telephone: 212-849-7000
                                        Facsimile: 212-849-7100
                                        Email: scottshelley@quinnemanuel.com

                                        Eric Winston (pro hac vice)
                                        865 South Figueroa Street, 10th Floor
                                        Los Angeles, California 90017
                                        Telephone: (213) 443-3000
                                        Facsimile: (213) 443-3100
                                        Email: ericwinston@quinnemanuel.com


                                        Attorneys for the Plaintiffs




                                       3
19-01360-scc   Doc 3   Filed 10/11/19 Entered 10/11/19 10:19:33    Main Document
                                     Pg 4 of 6




Dated: October 11, 2019                 PAUL, WEISS, RIFKIND,
       New York, New York               WHARTON & GARRISON LLP

                                         /s/ Andrew N. Rosenberg        .
                                        Andrew N. Rosenberg
                                        Aidan Synnott
                                        William A. Clareman
                                        Claudia R. Tobler
                                        Christopher Hopkins
                                        Crystal Johnson
                                        1285 Avenue of the Americas
                                        New York, New York 10019
                                        Telephone: (212) 373-3000
                                        Facsimile: (212) 757-3990
                                        Email: arosenberg@paulweiss.com
                                        Email: asynott@paulweiss.com
                                        Email: wclareman@paulweiss.com
                                        Email: ctobler@paulweiss.com
                                        Email: chopkins@paulweiss.com
                                        Email: cjohnson@paulweiss.com

                                        Attorneys for Asia Research and Capital Management
                                        Ltd.; GHL Investments (Europe) Ltd.; and Ship
                                        Finance International Ltd.




                                       4
19-01360-scc   Doc 3   Filed 10/11/19 Entered 10/11/19 10:19:33     Main Document
                                     Pg 5 of 6




Dated: October 11, 2019                 DECHERT LLP
       New York, New York
                                        By: /s/ Allan S. Brilliant
                                           Allan S. Brilliant
                                           Shmuel Vasser
                                           David A. Kotler
                                           Yehuda Goor
                                           1095 Avenue of the Americas
                                           New York, NY 10036-6797
                                           david.kotler@dechert.com
                                           allan.brilliant@dechert.com
                                           shmuel.vasser@dechert.com
                                           yehuda.goor@dechert.com
                                           Tel: (212) 698-3500
                                           Fax: (212) 698-3599

                                        Attorneys for Oro Negro Primus Pte. Ltd.; Oro Negro
                                        Laurus Pte. Ltd.; Oro Negro Fortius Pte. Ltd.; Oro
                                        Negro Decus Pte. Ltd.; and Oro Negro Impetus Pte.
                                        Ltd.




                                       5
19-01360-scc   Doc 3   Filed 10/11/19 Entered 10/11/19 10:19:33   Main Document
                                     Pg 6 of 6




     ENTERED this 11th day of October, 2019.

                                      SO ORDERED

                                      /S/ Shelley C. Chapman
                                      THE HONORABLE SHELLEY C. CHAPMAN
                                      UNITED STATES BANKRUPTCY JUDGE




                                         6
